Case 6:24-cv-01629-WWB-LHP     Document 109-1   Filed 06/10/25   Page 1 of 7 PageID
                                     1573



                        United States District Court
                         Middle District of Florida
                             Orlando Division

 Matthew Larosiere,
           Plaintiff,

 v.​

 Cody Rutledge Wilson, DEFCAD, Inc.,
 Defense Distributed, and Dioskouroi
 LLC,
           Defendants.

 __________________________                      No. 6:24-cv-1629


 Defense Distributed,
           Counterplaintiffs

 v.​

 The Gatalog, Matthew Larosiere,
 John Elik, Alexander Holladay, Peter
 Celentano, Josh Kiel Stroke, John
 Lettman, The Gatalog Foundation, and
 MAF Corp,
             Counterdefendants.




          EXHIBITS IN SUPPORT OF DEFENSE DISTRIBUTED’S
       RENEWED MOTION FOR ENTRY OF DEFAULT JUDGMENT AS
                         TO PETER CELENTANO
Case 6:24-cv-01629-WWB-LHP   Document 109-1   Filed 06/10/25   Page 2 of 7 PageID
                                   1574




                                 EXHIBIT A
Case 6:24-cv-01629-WWB-LHP   Document 109-1   Filed 06/10/25   Page 3 of 7 PageID
                                   1575
Case 6:24-cv-01629-WWB-LHP   Document 109-1   Filed 06/10/25   Page 4 of 7 PageID
                                   1576




                                 EXHIBIT B
Case 6:24-cv-01629-WWB-LHP     Document 109-1   Filed 06/10/25   Page 5 of 7 PageID
                                     1577



                         United States District Court
                          Middle District of Florida
                              Orlando Division

 Matthew Larosiere,
           Plaintiff,

 v.

 Cody Rutledge Wilson, DEFCAD, Inc.,
 Defense Distributed and Dioskouroi
 LLC,
           Defendants.

 __________________________                      No. 6:24-cv-1629


 Defense Distributed,
           Counterplaintiffs

 v.

 The Gatalog, Matthew Larosiere,
 John Elik, Alexander Holladay, Peter
 Celentano, Josh Kiel Stroke, John
 Lettman, The Gatalog Foundation, and
 MAF Corp,
             Counterdefendants.




      AFFIDAVIT IN SUPPORT OF REQUEST FOR DEFAULT AS TO
                       PETER CELENTANO
 State of Texas)
 County of Houston)


 F. Andino Reynal, being of full age and duly sworn states:
Case 6:24-cv-01629-WWB-LHP     Document 109-1   Filed 06/10/25   Page 6 of 7 PageID
                                     1578



    1. I am the attorney of record for Counterplaintiff Defense Distributed in

       the above-entitled matter. I have been admitted Pro Hac Vice to

       practice before this Court in this matter and am therefore fully

       knowledgeable of the facts and circumstances therein.

    2. Counterplaintiff filed its amended third-party complaint on January 3,

       2025. (Dkt 52).

    3. Counterplaintiff was granted an extension of time to serve the

       Summons and Complaint on April 18, 2025. (Dkt. 93).

    4. Peter Celentano (hereafter “Mr. Celentano”) was served via personal

       service with a copy of the Summons and Amended Third-party

       Complaint on May 1, 2025, by Sheriff’s Deputy Joseph DeVoe at

       5526 Niagara Street, Ext., Pod 4, Lockport, NY 14094, as Mr.

       Celentano is currently incarcerated there. See Affidavit of Service

       attached hereto as Exhibit A.

    5. The Affidavit of Service was filed on May 5, 2025 in compliance with

       Rule 1.10(a), which requires proof of service to be filed within 21 days

       of service (Dkt. 95).


    6. Upon information and belief, Mr. Celentano is of full age and not

       otherwise incapacitated.
Case 6:24-cv-01629-WWB-LHP    Document 109-1     Filed 06/10/25   Page 7 of 7 PageID
                                    1579



    7. Similarly, upon information and belief, Mr. Celentano is not serving in

       the active military overseas, as Sheriff’s Deputy Joseph DeVoe stated

       in the Affidavit of Service that when asked if he was serving in the

       military, Mr. Celentano replied no.

    8. Mr. Celentano has therefore failed to file an answer or otherwise

       respond to the third-party complaint within 21 days as required by

       Federal Rules of Civil Procedure 12(a)(1)(A).

             10th 2025
 Dated June ____,

                                             ________________________
                                             F. Andino Reynal
                                             The Reynal Law Firm
                                             917 Franklin St., 6th Floor
                                             Houston, Texas 77002
                                             T. 713.228.5900
                                             areynal@frlaw.us
                                             Admitted Pro Hoc Vice
                                             Counsel for Cody Wilson, Defense
                                             Distributed, DEFCAD Inc., and
                                             Dioskouri, LLC.
